      8:19-cv-02132-DCC        Date Filed 12/09/21      Entry Number 60       Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF SOUTH CAROLINA

                                   ANDERSON DIVISION


George Wheeler as Personal Representative     )          C/A No. 8:19-cv-02132-DCC
of the Estate of Cole Wheeler,                )
                                              )
                Plaintiff,                    )
                                              )           CONSENT MOTION FOR
              vs.                             )            EXTENSION OF TIME
                                              )
Ford Motor Company,                           )
                                              )
                Defendant.                    )
                                              )


       Defendant Ford Motor Company (“Ford”), with Plaintiff’s consent, hereby moves the

Court for an Order to extend the deadline set forth in the Court’s July 1, 2021 Order (ECF 52)

granting an extension of the January 3, 2022 deadline to file all dispositive motions, Daubert

motions, and all other motions, except those to complete discovery, those nonwaivable motions

made pursuant to Fed. R. Civ. P. 12, and those relating to the admissibility of evidence at trial

(other than Daubert motions). The requested extension would establish a new deadline of

January 18, 2022, and would accommodate the trial schedule.

       In accordance with Local Civil Rule 7.04, a full explanation of the motion is contained

within this motion and a memorandum or affidavit will serve no useful purpose.




                                  (Signature pages to follow.)




                                                  1
     8:19-cv-02132-DCC   Date Filed 12/09/21   Entry Number 60    Page 2 of 3




WE SO MOVE:



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                                       2
     8:19-cv-02132-DCC   Date Filed 12/09/21   Entry Number 60   Page 3 of 3




WE CONSENT:



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